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“ADAMS, JENKINS AND GHEATHAM

CERTIFIED PUBLIG A COUNTANTS AND BUSINESS CONSULTANTS

Common Benefi Fee and Cost Fund Client ID: 3738
clo Phillip Garre : Invoice: 11278

156 Bald Eagle | drive .
Abita Springs, L. . 70420 Date: 08/31/2014

For professional service t :ndered as follows:

Preparation of incom: tax returns for the years ended December 31, 2012 and 3,600.00
December 31, 2013.

Billed Time & Expenses $3,600.00

Invoice Total $3,600.00

Beginning Balance $0.00

Invoices 3,600.00

Receipts 0.00

Adjustments 0.00

Service Charges 0.00

Amount Due $3,600.00

231 Wylderose Drive | Midlothian, VA 23113 | 804.328.1313
